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            EXHIBIT 1
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~         Post

      Tim Sweeney O @TimSweeneyEpic • Jan 16
      Apple filed a bad- faith "compliance" plan for the District Court's injunction.
      It totally undermines the order allowing "buttons, external links, or other
      calls to action that direct customers to purchasing mechanisms, in addition
      t o IAP".
      developer.apple.com/support/ storek...

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      Tim Sweeney 0
      @TimSweeneyEpic

A quick summary of glaring problems we've found so far:

1) Apple has introduced an anticompetitive new 27% tax on web
purchases. Apple has never done this before, and it kills price
competition. Developers can't offer digital items more cheaply on the
web after paying a third-party payment processor 3-6% and paying this
new 27% Apple Tax.

2) Apple dictates all aspects of these links and doesn't allow them in the
app's ordinary payment flow. Rather, links must be separated out into a
different section of the app, away from places where users actually buy
stuff.

3) Apple requires developers to open a generic web browser session,
forcing the user to log in to the developer's web site again, to make a
purchase. And because of #2, users will have to search all over again for
the digital item they wanted to buy.

4) Apple will front- run competing payment processors with their own
"scare screen" to disadvantage them.

Epic will contest Apple's bad-faith compliance plan in District Court.




          fJ App Store

           You're about to leave
           the app and go to an
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                 Case 4:20-cv-05640-YGR Document 916-9 Filed 04/12/24 Page 3 of 3



                Apple is not
            responsible for the
           privacy or security of
            purchases made on
                 the web.
           Any accounts or purchases made outside of
            this app will be managed by the developer
            "Example." Your App Store account, stored
           payment method, and related features, such
              as subscription management and refund
             requests, will not be available. Learn More




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